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                    VIA ECF

                    The Honorable James Orenstein
                    United States District Court
                    Eastern District of New York
                    225 Cadman Plaza East
                    Brooklyn, NY 11201

                                           RE:    In re Payment Card Interchange Fee and Merchant
                                                  Discount Antitrust Litigation, 05-MD-1720 (MKB)(JO)

                    Dear Magistrate Judge Orenstein:

                            We write on behalf of the Bank of America, Chase, Citi, Wells Fargo, Visa,
                    and Mastercard defendants (the mDefendantsn) seeking an order compelling the
                    putative (b)(3) class plaintiffs (the m(b)(3) Plaintiffsn) to (i) perform custodial
                    searches for documents in response to each of Defendantso Second Set of Requests
                    for Production (see Appendix A, the mRequestsn) beginning August 1, 2006; and (ii)
                    perform custodial searches, with more limited search terms, for documents
                    responsive to a limited set of Requests concerning recently added allegations
                    pertaining to two-sided markets (the mTwo-Sided Market Requestsn) beginning
                    January 1, 2000. The (b)(3) Plaintiffs do not object in substance to the Requests but
                    have refused to perform any custodial searches prior to July 2009. The parties have
                    met and conferred numerous times over more than two months, and have reached an
                    impasse on both issues.

                            Custodial Discovery from August 2006 until July 2009: The (b)(3)
                    Plaintiffs allege unlawful conduct dating back decades, and seek to certify a class of
                    all merchants that have accepted Visa or Mastercard credit or debit cards in the
                    United States mat any time from and after January 1, 2004n and to recover damages
                    accrued over that period. (See ECF No. 7118, the mThird Consolidated Amended
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          Class Action Complaint,n at ¶ 66.) As part of prior discovery in this action, the
          (b)(3) Plaintiffs made broad document productions through August 1, 2006.
          Following that date, the (b)(3) Plaintiffs made discrete supplemental productions
          through mid-2009. Defendants now seek to compel the (b)(3) Plaintiffs to perform
          custodial searches for documents from August 1, 2006, until July 1, 2009.

                  The (b)(3) Plaintiffs do not meaningfully dispute that documents created in
          between August 1, 2006, and July 1, 2009lbut omitted from the supplemental
          productions for that periodlare relevant to the partieso claims and defenses. Indeed,
          (b)(3) Plaintiffs advance claims and seek damages covering that entire time period.
          Courts routinely compel parties to produce documents from time periods consistent
          with or even preceding allegations of injury. See, e.g., Mar. Cinema Serv. Corp. v.
          Movies En Route, Inc., 60 F.R.D. 587, 591 (S.D.N.Y. 1973) (allowing discovery four
          years prior to damages period and noting m[d]iscovery in antitrust cases routinely
          goes beyond the damage periodn); In re Bank of N.Y. Mellon Corp. Forex
          Transactions Litig., No. 12 MD 2335 (LAK)(JLC), 2014 U.S. Dist. LEXIS 88175, at
          *43-45 (S.D.N.Y. June 26, 2014) (granting motion to compel production during time
          period consistent with class period). But the (b)(3) Plaintiffs take the position that
          they need to undertake custodial searches only for documents that postdate their final
          limited supplemental productions. This position is incorrect.

                   First, the (b)(3) Plaintiffso proposed July 1, 2009 date to begin their custodial
          productions would essentially create a three-year gap in those productions. Even a
          cursory comparison of the (b)(3) Plaintiffso supplemental productions with
          Defendantso Requests demonstrates the limited nature of the former. The
          supplemental productionlcovering the period between August 1, 2006, and mid-
          2009lis composed of updates on certain financial information, certain contracts and
          requests for proposals, and certain policy-related documents. (See, e.g., Appendix B,
          March 6, 2008 Letter.) By contrast, the 110 Requests that Defendants served in
          September 2017 address numerous other subjects on which the (b)(3) Plaintiffs had
          produced documents through August 1, 2006lincluding, for example, plaintiffso
          relationships with payment-related entities, analyses of payment card usage, and
          efforts to steer customers to a particular payment type. (Defendantso September
          2017 Requests also addressed new allegations of the Third Amended Complaint,
          such as those related to two-sided markets.) The supplemental productions therefore
          offer no substitute for the documents responsive to the Requests. Were the (b)(3)
          Plaintiffs permitted to begin their custodial productions in July 2009, a three-year
          gap would occur in several categories of relevant documents.1


          1
              While the (b)(3) Plaintiffs stated that they would consider producing documents from the 2006 to
              2009 time period responsive to a small number of special categories that they asked Defendants
              to identify, such a limited production would be no substitute for full custodial searches.
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                  Second, the (b)(3) Plaintiffs are seeking an undue advantage over
          Defendants. Although Defendants, like the (b)(3) Plaintiffs, initially made only
          targeted supplemental productions from August 2006 through 2009, they later made
          comprehensive document productions post-dating August 2006 in response to
          document requests served by the direct action plaintiffs. The (b)(3) Plaintiffs sought
          and were granted access to those productions in August 2016. The (b)(3) Plaintiffs
          should not be permitted to evade reciprocal discovery for the same period of time.

                  Two-Sided Market Discovery Beginning January 2000: Your Honor has
          rejected the (b)(3) Plaintiffso contention that their allegationslmade for the first
          time in 2017 in the Third Amended Complaintlconcerning two-sided markets
          should relate back to their original 2005 complaint. The (b)(3) Plaintiffs have
          appealed that ruling to Judge Brodie. In light of the upcoming discovery cut-off, the
          parties have agreed to engage in discovery negotiations on the basis of the broad
          relation-back theory that (b)(3) Plaintiffs unsuccessfully asserted. But despite
          maintaining their two-sided market theory should relate back to their 2005
          complaint, the (b)(3) Plaintiffs assert that all of their custodial productions should
          begin July 1, 2009.

                  Following the filing of the proposed Third Amended Complaint in 2017,
          Defendants made sixteen new requests directed to Plaintiffso new allegations
          concerning two-sided markets. Plaintiffs refused to produce pre-July 2009
          documents in response. Nor have they agreed to determine (let alone represent)
          whether the documents responsive to Defendantso sixteen new requests from the pre-
          August 2006 time period have already been produced. It is highly unlikely that they
          have been; as the parties have previously addressed before this Court, Plaintiffso pre-
          2017 discovery would not have fully addressed Plaintiffso new two-sided market
          allegations. See, e.g., Hrog Tr., April 20, 2017, at 19:13k17 (mTHE COURT: [I]f
          what you are hoping to do is convince me that discovery would not have looked
          different if this had been your complaint all along, you have got a real steep climb.n).

                  Defendants therefore respectfully request that this Court compel the (b)(3)
          Plaintiffs to (i) make productions from custodial searches beginning August 1, 2006,
          with respect to all Requests; and (ii) make productions from custodial searches, with
          an agreed-upon limited set of search terms, beginning January 1, 2000, in response to
          the Two-Sided Market Requests.#
                                                        Respectfully submitted,




                                                        Boris Bershteyn
          Cc:    Counsel of record (via ECF)
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                      Appendix A
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